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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                            )
 In re                                      ) Chapter 15
                                            )
 MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                            )
            Debtor in a Foreign Proceeding. )



              NOTICE OF ADJOURNMENT OF RECOGNITION HEARING
                    AND SETTING OF STATUS CONFERENCE




                                              1
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          PLEASE TAKE NOTICE that the hearing on the Petitioner’s Verified Petition for

 Recognition and Chapter 15 Relief [Dkt. No. 1] (the “Recognition Hearing”) set for April 1,

 2014 at 1:30 p.m. and to continue, if necessary on April 2, 2014 at 9:30 a.m. (CST) has been

 adjourned to May 6, 2014 at 9:30 a.m. (Prevailing Central Time), and will take place before

 the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy Court, Northern

 District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

          PLEASE TAKE FURTHER NOTICE that the hearing set for April 1, 2014 at 1:30

 p.m. (Prevailing Central Time) before the Honorable Stacey G.C. Jernigan, at the United

 States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100 Commerce Street,

 Dallas, Texas 75252 has been converted to a status conference on discovery and other matters

 related to the US Litigation Matters (as defined in the Emergency Application for an Order

 Granting Provisional Relief Pursuant to Sections 105(a) and 1519 of the Bankruptcy Code,

 Scheduling Recognition Hearing, and Specifying Form and Manner of Notice [Dkt. No. 4]).

 Dated:    March 26, 2014
           Dallas, Texas
                                             Respectfully submitted,

                                             BAKER & McKENZIE LLP

                                             By:   /s/ David W. Parham
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                                                     - and -

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                                                     Attorneys for the Petitioner Robert Marie
                                                     Mark Karpeles, Foreign Representative of
                                                     MtGox Co., Ltd., a/k/a MtGox KK


                                 CERTIFICATE OF SERVICE

          This is to certify that on March 26, 2014, a copy of the foregoing document was served
 on the parties registered to receive electronic notification via the Electronic Case Filing System
 for the United States Bankruptcy Court for the Northern District of Texas, and via United States
 first class mail, postage pre-paid to the parties listed below:

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                                                  /s/ Rosa A. Shirley
                                                  Rosa A. Shirley
